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                  IN THE UNITED STATES DISTRICT COURT
                     FOR THE DISTRICT OF MARYLAND

LOUIS ANN GIBSON, ET AL.,                 *
                  Plaintiffs,
                                          *
            v.
                                          *
                                                  No. 1:22-cv-01642-GLR
FREDERICK COUNTY MARYLAND,                *
ET AL.,
                                          *
                  Defendants.

     *      *     *      *      *     *       *      *     *     *    *      *

                      DEFENDANTS’ MOTION TO DISMISS

      Defendant Maryland State Board of Elections, through counsel, Brian Frosh,

Attorney General, and Daniel Kobrin, Assistant Attorney General, moves to dismiss the

complaint (ECF 1) and amended complaint (ECF 9) under Federal Rules of Civil

Procedure 12(b)(6) for failure to state a claim upon which relief can be granted for

reasons more fully stated in the accompanying memorandum.
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                                         Respectfully submitted,

                                         BRIAN E. FROSH
                                         Attorney General of Maryland


                                         /s/ Daniel M. Kobrin
                                         ___________________________
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September 19, 2022                       Attorneys for Appellee




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                           CERTIFICATE OF SERVICE

      I certify that, on this 19th day of September, 2022 the foregoing was served by

CM/ECF on all registered CMF users and by first-class mail on the following:

                    Walter T. Charlton, Esq.
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                                               /s/ Daniel M. Kobrin
                                               ________________________
                                               Daniel M. Kobrin




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